Case 19-12097-mdc             Doc 96    Filed 05/19/21 Entered 05/19/21 22:16:00                  Desc Main
                                       Document      Page 1 of 11

                                                L.B.F. 3015.1

                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA

In re:    Joseph Walker                                    Case No.:        19-12097

                                                           Chapter:         13

                  Debtor(s)
                              Second Amended Chapter 13 Plan

                Original
          X Second Amended

Date:     May 19, 2021

                              THE DEBTOR HAS FILED FOR RELIEF UNDER
                               CHAPTER 13 OF THE BANKRUPTCY CODE

                                    YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
This Plan may be confirmed and become binding, unless a written objection is filed.

                   IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                  MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                               NOTICE OF MEETING OF CREDITORS.

 Part 1: Bankruptcy Rule 3015.1(c) Disclosures

         X Plan contains non-standard or additional provisions – see Part 9
           Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
           Plan avoids a security interest or lien – see Part 4 and/or Part 9

 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN
 EVERY CASE
         § 2(a)(1) Initial Plan:
            Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 300.00
             Debtor shall pay the Trustee $ 5.00 per month for 60 months; and
             Debtor shall pay the Trustee $ _________ per month for ____ months.
            Other changes in the scheduled plan payment are set forth in § 2(d)

      § 2(a)(2) Amended Plan:
          Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 300
      The Plan payments by Debtor shall consists of the total amount previously paid ($120.00) added
 to the new monthly Plan payments in the amount of $5.00 beginning 6/1/2021(date) and continuing for
 36 months.
         Other changes in the scheduled plan payment are set forth in § 2(d)


                                                       1
Case 19-12097-mdc           Doc 96      Filed 05/19/21 Entered 05/19/21 22:16:00              Desc Main
                                       Document      Page 2 of 11

      § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
 addition to future wages (Describe source, amount and date when funds are available, if
 known):


      § 2(c) Alternative treatment of secured claims:
          X None. If “None” is checked, the rest of § 2(c) need not be completed.

            Sale of real property
            See § 7(c) below for detailed description

            Loan modification with respect to mortgage encumbering property:
            See § 4(f) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan:
 Debtor has an adversary pending in the case of Joseph Walker v M&T Bank, Adv. # 19-00228. The
 resolution of this adversary will determine the extent to which there is an allowed secured claim within
 the meaning of 11 U.S.C.§506(a) secured by a lien in Debtor’s home and the extent to which the claim
 is an allowed unsecured claim within the meaning of 11 U.S.C. §506(a). To the extent the claim is
 determined to be an allowed secured claim within the meaning of 11 U.S.C. §506(a) it is not being
 provided for in the plan. Any allowed unsecured portion of the claim, within the meaning of 11 U.S.C.
 §506(a), shall be paid pro rata with the other general unsecured claims.

      § 2(e) Estimated Distribution:
         A. Total Priority Claims (Part 3)
             1.    Unpaid attorney’s fees                                $    0.00
             2.    Unpaid attorney’s costs                               $    0.00
             3.    Other priority claims (e.g., priority taxes)          $    0.00
         B. Total distribution to cure defaults (§ 4(b))                 $    0.00
         C. Total distribution on secured claims (§§ 4(c) &(d))          $ 215.40
         D. Total distribution on unsecured claims (Part 5)               $   58.33
                                              Subtotal                   $ 272.73
         E. Estimated Trustee’s Commission                                $   27.27
         F. Base Amount                                                   $ 300.00

 Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)




                                                         2
Case 19-12097-mdc            Doc 96      Filed 05/19/21 Entered 05/19/21 22:16:00                        Desc Main
                                        Document      Page 3 of 11


     § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full
 unless the creditor agrees otherwise:

  Creditor                               Type of Priority                       Estimated Amount to be Paid




      § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
 less than full amount.
      X None. If “None” is checked, the rest of § 3(b) need not be completed.
           The allowed priority claims listed below are based on a domestic support obligation that has been
  assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
  provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


   Name of Creditor                                             Amount of claim to be paid




 Part 4: Secured Claims




                                                            3
Case 19-12097-mdc               Doc 96        Filed 05/19/21 Entered 05/19/21 22:16:00                       Desc Main
                                             Document      Page 4 of 11


      § 4(a) Secured claims not provided for by the Plan:
       ___ None. If “None” is checked, the rest of § 4(a) need not be completed.
  Creditor                                                             Secured Property

      If checked, debtor will pay the creditor(s) listed below         6715 Haverford Avenue
  directly in accordance with the contract terms or otherwise by       Philadelphia, PA 19151
  agreement.
  City of Philadelphia, Claim # 4-1

      If checked, debtor will pay the creditor(s) listed below         6715 Haverford Avenue
  directly in accordance with the contract terms or otherwise by       Philadelphia, PA 19151
  agreement.
  City of Philadelphia, Claim #5-1


      If checked, debtor will pay the creditor(s) listed below         6715 Haverford Avenue
  directly in accordance with the contract terms or otherwise by       Philadelphia, PA 19151
  agreement.
  M&T Bank – or holder of mortgage on Debtor’s
  home – Claim #3-1; 3-2

  Identity of claim holder to be determined by
  adversary

  Allowed unsecured portion of this claim is
  provided by the plan

  This loan is currently in forbearance, Debtor
  has no current obligation to make payments.

      § 4(b) Curing default and maintaining payments
        x None. If “None” is checked, the rest of § 4(b) need not be completed.
     The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor
  shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the
  parties’ contract.

    Creditor              Description of          Current Monthly          Estimated      Interest Rate   Amount to be
                          Secured                 Payment to be            Arrearage      on Arrearage,   Paid to
                          Property and            paid directly to                        if applicable   Creditor by
                          Address, if real        creditor by                             (%)             the Trustee
                          property                Debtor




                                                                   4
Case 19-12097-mdc             Doc 96       Filed 05/19/21 Entered 05/19/21 22:16:00                          Desc Main
                                          Document      Page 5 of 11


     § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-
 confirmation determination of the amount, extent or validity of the claim
            None. If “None” is checked, the rest of § 4(c) need not be completed.

         (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion
 of payments under the plan.

            (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its determination
 prior to the confirmation hearing.

         (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
 unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

           (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided
 for “present value” interest, the claimant must file an objection to confirmation.

          (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim
 and release the corresponding lien.


                           Description of
  Name of Creditor         Secured Property           Allowed            Present    Dollar Amount        Total
                           and Address, if real       Secured            Value      of Present           Amount to
                           property                   Claim              Interest   Value Interest       be paid
                                                                         Rate
  PGW                      Municipal Claim for        200                3%         $ 15.40              $ 215.40
                           Gas service
                           6715 Haverford Ave.
                           Debtor’s home.




      § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
      X None. If “None” is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
 money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
 year of the petition date and secured by a purchase money security interest in any other thing of value.

       (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of
 payments under the plan.

          (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim, the court will determine the present value
 interest rate and amount at the confirmation hearing.

 Name of Creditor            Collateral         Amount of          Present Value      Estimated total payments
                                                Claim              Interest
                                                                            %         $

                                                                              %       $




                                                            5
Case 19-12097-mdc             Doc 96      Filed 05/19/21 Entered 05/19/21 22:16:00                          Desc Main
                                         Document      Page 6 of 11

      § 4(e) Surrender
        X None. If “None” is checked, the rest of § 4(e) need not be completed.

             (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
             (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property
 terminates upon confirmation of the Plan.
             (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

  Creditor                                                      Secured Property




      § 4(f) Loan Modification
        X None. If “None” is checked, the rest of § 4(f) need not be completed.
        (1) Debtor shall pursue a loan modification directly with                       or its successor in interest or its
  current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

        (2) During the modification application process, Debtor shall make adequate protection payments directly to
  Mortgage Lender in the amount of $            per month, which represents                        (describe
  basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
  Mortgage Lender.

        (3) If the modification is not approved by               (date), Debtor shall either (A) file an amended Plan to
  otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the
  automatic stay with regard to the collateral and Debtor will not oppose it.



 Part 5: General Unsecured Claims

      § 5(a) Separately classified allowed unsecured non-priority claims
        X None. If “None” is checked, the rest of § 5(a) need not be completed.

                             Basis for Separate
  Creditor                   Classification             Treatment                    Amount of            Amount to
                                                                                     Claim                be paid




      § 5(b) Timely filed unsecured non-priority claims
            (1) Liquidation Test (check one box)
                X All Debtor(s) property is claimed as exempt.
                    Debtor(s) has non-exempt property valued at $            for purposes of § 1325(a)(4) and plan
 provides for distribution of $                    to allowed priority and unsecured general creditors.

             (2) Funding: § 5(b) claims to be paid as follows (check one box):
                X Pro rata
                  100%
                  Other (Describe)



                                                            6
Case 19-12097-mdc             Doc 96       Filed 05/19/21 Entered 05/19/21 22:16:00                         Desc Main
                                          Document      Page 7 of 11


 Part 6: Executory Contracts & Unexpired Leases


      X None. If “None” is checked, the rest of § 6 need not be completed.

  Creditor                             Nature of Contract or Lease          Treatment by Debtor Pursuant to §365(b)




 Part 7: Other Provisions

      § 7(a) General principles applicable to the Plan
         (1) Vesting of Property of the Estate (check one box)
                  X Upon confirmation
                    Upon discharge

         (2) Subject to Bankruptcy Rule 3012, the amount of a creditor’s claim listed in its proof of claim controls
 over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

          (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors
 shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
 the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
 be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
 creditors, or as agreed by the Debtor and the Trustee and approved by the court.

     § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s
 principal residence

         (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
 arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
 obligations as provided for by the terms of the underlying mortgage note.

         (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

         (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
 Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the
 holder of the claims shall resume sending customary monthly statements.

         (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
 books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
 book(s) to the Debtor after this case has been filed.

        (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon
 books as set forth above.




                                                            7
Case 19-12097-mdc             Doc 96      Filed 05/19/21 Entered 05/19/21 22:16:00                        Desc Main
                                         Document      Page 8 of 11


      § 7(c) Sale of Real Property
        X None. If “None” is checked, the rest of § 7(c) need not be completed.

          (1) Closing for the sale of                                 (the “Real Property”) shall be completed
  within        months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
  agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in
  full under §4(b)(1) of the Plan at the closing (“Closing Date”).

         (2) The Real Property will be marketed for sale in the following manner and on the following terms:




          (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
  customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
  convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
  seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11
  U.S.C. §363(f), either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is
  necessary or in order to convey insurable title or is otherwise reasonably necessary under the circumstances to
  implement this Plan.

         (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the
  Closing Date.

         (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
  Deadline:




 Part 8: Order of Distribution




 The order of distribution of Plan payments will be as follows:


       Level 1:   Trustee Commissions*
       Level 2:   Domestic Support Obligations
       Level 3:   Adequate Protection Payments
       Level 4:   Debtor’s attorney’s fees
       Level 5:   Priority claims, pro rata
       Level 6:   Secured claims, pro rata
       Level 7:   Specially classified unsecured claims
       Level 8:   General unsecured claims
       Level 9:   Untimely filed general unsecured non-priority claims to which debtor has not objected



                                                          8
Case 19-12097-mdc            Doc 96      Filed 05/19/21 Entered 05/19/21 22:16:00                       Desc Main
                                        Document      Page 9 of 11

 *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
 not to exceed ten (10) percent.


 Part 9: Non Standard or Additional Plan Provisions



 Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box
 in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

   None. If “None” is checked, the rest of Part 9 need not be completed.

 The Standard Plan provisions set forth above notwithstanding, the following Non-
 Standard and Additional Plan provisions shall apply. In the event of a conflict the
 language of the following provisions shall supersede those of the standard language.
 To the extent possible the provisions below and the standard language should be
 construed harmoniously.


       §9(a) Confirmation of this plan shall constitute a finding in accordance with 11
 U.S.C. §1322(d) that there is cause for extending the plan beyond 3 years.
 Confirmation shall also constitute approval of such extension.

        §9(b) Debtor has filed an adversary action to determine the extent and validity
 of the M&T Bank’s claim Claim # 3-1; as amended by #3-2, referenced in §4(a) above
 and the extent to which it is an allowed secured claim within the meaning of 11 U.S.C.
 §506(a) and an allowed unsecured claim within the meaning of 11 U.S.C. §506(a).
 The adversary will also determine who is the rightful holder of the claim entitled to
 payment. To the extent Claim # 3-1, as amended by Claim #3-2 , is determined to
 be an allowed secured claim secured by a lien on Debtor’s interest in 6715
 Haverford Avenue, that claim is not provided for by Debtor’s Chapter 13 plan,
 within the meaning of 11 U.S.C. §§1325(a)(5) and 1328(a).

       To the extent Claim #3-1 as amended by #3-2, or any portion thereof, is
 determined to be an allowed unsecured claim within the meaning of 1 U.S.C.
 §506(a) it is provided for by this plan within the meaning of 11 U.S.C. 1328(a)
 and shall be paid pro rata as a general unsecured claim along with the other
 general unsecured claims pursuant to Part 8 above.




                                                          9
Case 19-12097-mdc      Doc 96    Filed 05/19/21 Entered 05/19/21 22:16:00        Desc Main
                                Document     Page 10 of 11




        §9(c) By failing to object to this plan, or any modification thereof, all creditors
 holding claims provided for by the plan agree to take no steps to collect their claims in
 any other forum or in any manner inconsistent with this plan.

        §9(d) Confirmation of this plan shall constitute a finding that the instant plan
 was proposed by Debtor in good faith within the meaning of 11 U.S.C. §1325(a)(3)
 and constituted Debtor’s best effort within the meaning of 11 U.S.C. §727(a)(9) and
 that Debtor’s bankruptcy was filed in good faith within the meaning of 11 U.S.C.
 §1325(a)(7).

        §9(e) Confirmation of this plan shall constitute an order that Debtor's
 continued possession of 6715 Haverford Avenue Philadelphia, PA 19151, is essential
 to the success of Debtor's plan and a finding that Debtor's plan would likely fail if
 Debtor were forced to relinquish possession of the property.

         §9(f) Except as provided in §9(b) above, the debts held by creditors who: are
 listed in Debtor’s schedules and who have failed to file a proof of claim; or who have
 filed a proof of claim which was not allowed; or who filed a late proof of claim - are
 provided for in this plan and shall receive no distribution or other payment
 either from the trustee or from Debtor, the provisions of Part 8 above
 notwithstanding.

       §9(g) Pursuant to 11 U.S.C. §506(d), and subject to the provisions of 11
 U.S.C. §349(b)(1)(C), any lien on Debtor’s interest in property which secures a claim
 against Debtor – is void to the extent the claim is not an allowed secured claim.

         §9(h) Absent an order of the court providing otherwise, the effective date of
 this plan shall the date of confirmation.

       §9(i) The language in Part 8, level 9 above notwithstanding, untimely filed
 unsecured claims shall receive no distribution, whether allowed or not.

        §9(j) Section 7(b)(6) above notwithstanding, Debtor reserves the right to press
 any claims he may have resulting from any incorrect information contained in any
 statement and any claims under any state or federal consumer protection statute of
 CFPB regulation unrelated to the violation of the automatic stay.




                                             10
Case 19-12097-mdc             Doc 96     Filed 05/19/21 Entered 05/19/21 22:16:00                       Desc Main
                                        Document     Page 11 of 11




 By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
 nonstandard or additional provisions other than those in Part 9 of the Plan.


         May 19, 2021                                     /s/Irwin Trauss
 Date:
                                                              Attorney for Debtor(s)


         If Debtor(s) are unrepresented, they must sign below.



 Date:
                                                              Debtor


 Date:
                                                              Joint Debtor




                                                         11
